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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                 Plaintiff,

    v.                                    No. 1:23-cv-01599-ABJ-ZMF

BINANCE HOLDINGS LIMITED,                 Oral Argument Requested
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                Defendants.



                Reply In Support Of Joint Motion To Dismiss Claims
         Against Defendants Binance Holdings Limited And Changpeng Zhao
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                                           Introduction

       For more than a decade after Bitcoin launched in 2009, the SEC stood idle as Binance.com

and several other crypto platforms grew in plain sight, allowing users to buy and sell crypto tokens

without any indication that the SEC would later argue the entire industry was violating the

securities laws. The SEC was on the sidelines for good reason—unlike the CFTC, the SEC lacks

statutory authority over exchange sales of crypto assets. Yet the SEC now asks this Court to accept

a novel, contorted interpretation of the securities laws, hinging virtually its entire case on the

argument that an “investment contract” need not include either an investment or a contract. That

interpretation is untenable under the plain text of the securities laws, binding precedent, and

common sense.

       The SEC’s Complaint focuses on transactions by customers who clicked on a website,

bought tokens from other anonymous token owners, and then logged off.              In none of the

transactions at issue did a contract exist with a promoter to invest money into a common business

enterprise. As a result, the SEC asks this Court to disregard text and precedent requiring

contractual commitments and to overlook the requirement of an investment into a “common

enterprise” between a promoter and purchaser. The SEC also ignores the requirement that the

existence of an “investment contract” must be determined on a transaction-by-transaction basis.

       The SEC unsurprisingly cannot identify any coherent limiting principle for its novel theory,

instead simply blustering that Defendants’ arguments concerning citrus groves and baseball cards

are “absurd” because they take the SEC’s theory to its logical (and absurd) conclusion. Opp. 3.

The SEC fails to explain why its theory does not convert sales of assets such as real estate, gold,

or oil into securities transactions. At a recent congressional hearing, Chair Gensler could not even

say whether the agency’s new theory would turn electronic Pokémon cards into securities.




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Hearing on Oversight of the SEC, 117th Cong. (2023), https://tinyurl.com/d74us89n (2:50:00–

2:52:37) (questioning from Rep. Torres).

       To be sure, the “investment contract” test is “capable of adaptation to meet the countless

and variable schemes devised by those who seek the use of the money of others on the promise of

profits.” SEC v. W.J. Howey Co., 328 U.S. 293, 299 (1946). But the test is not an inkblot that

means whatever the SEC wants. There are real limits even for assets that might, in colloquial

terms, be thought of as “investments.” See, e.g., SEC v. Life Partners, Inc., 87 F.3d 536, 538 (D.C.

Cir. 1996) (rejecting theory that instruments purchased for investment purposes were “investment

contracts”). The SEC’s repeated appeals for a “flexible” approach that eschews the text and

precedent betray the lack of legal support for its position. Tellingly, the SEC’s own amicus argues

expressly what the SEC leaves implicit: that its approach would require abandoning precedent and

overhauling Howey. NFI Br. 1–4.1

                                            Argument

I.     The SEC Fails To Plausibly Allege That Any Token, BNB Vault, Or Simple Earn Is
       A “Security.” (Most Of Count 1 And All Of Counts 2–3, 5–12)

       A.      The SEC’s Interpretation Defies The Plain Text Of The Phrase “Investment
               Contract” And The Governing Howey Test.

       The securities laws define a “security” to encompass specific instruments such as

“stock[s],” “bond[s],” and “investment contract[s].” Mot. 14. Statutory interpretation starts with

the text and, when the text is clear, ends there too. See, e.g., Food Mktg. Inst. v. Argus Leader

Media, 139 S. Ct. 2356, 2364 (2019). Yet the SEC never tries to reconcile its arguments with the




1
 For a table summarizing the grounds on which each count of the Complaint against Defendants
should be dismissed, see Exhibit A to this brief.


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text of these laws—the SEC even ridicules the idea that “the words” matter. Opp. 26. The reason

is clear: any interpretation of “investment contract” requires a contract and an investment.

               1.      An Investment Contract Requires A Contract.

       The SEC’s cases confirm that “the words” mean what they say—i.e., an investment

contract requires a contract. See, e.g., SEC v. C.M. Joiner Leasing Corp., 320 U.S. 344, 349

(1943) (investment contract existed because “the acceptance of the offer quoted made a contract”)

(emphasis added); SEC v. Edwards, 540 U.S. 389, 397 (2004) (“We are considering investment

contracts.”). The D.C. Circuit has likewise confirmed that an investment contract by definition

requires “post-purchase commitments.” Life Partners, 87 F.3d at 545.

       Case law also makes clear that assets standing alone without contractual post-sale

obligations are not investment contracts. See, e.g., Rodriguez v. Banco Cent. Corp., 990 F.2d 7,

10 (1st Cir. 1993) (“Even if bought for investment, the land itself does not constitute a business

enterprise[.]”); De Luz Ranchos Inv., Ltd. v. Coldwell Banker & Co., 608 F.2d 1297, 1301 (9th

Cir. 1979) (similar); Woodward v. Terracor, 574 F.2d 1023, 1025 (10th Cir. 1978) (similar where

defendant “was under no contractual obligation to the plaintiffs other than to deliver title”).2

       The SEC’s quest to paint Defendants as advocating for a wooden, “formal” contract

requirement falls flat. Opp. 9, 24. Nothing about the existence of a contract requires a “formal”

instrument. See, e.g., Bloomgarden v. Coyer, 479 F.2d 201, 208 (D.C. Cir. 1973) (“An implied-

in-fact contract is a true contract[.]”). Nor does the question require diving into state law, as the

SEC suggests. Opp. 25. Federal law controls the question whether there is an investment contract,


2
  The SEC contends that Woodward does not support the contract requirement because it found
that defendants did not “promise to run the development” and distribute profits. Opp. 23. But the
lack of a “promise”—i.e., there was “no management contract between plaintiff and defendants,
nor were defendants obligated by [the land-sale contract] to perform any such services”—was why
the court found a lack of an “investment contract.” Woodward, 574 F.2d at 1026 (emphasis added).


                                                  3
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as Joiner made clear when deeming it “unnecessary” to determine whether a purchaser enjoyed a

specific state-law remedy. 320 U.S. at 348–49. Federal law also incorporates contract-law

principles like “offer” and “acceptance” as required elements of an “investment contract.” Id.

       Tellingly, the SEC fails to identify a single appellate decision holding that an investment

contract need not include post-sale contractual obligations, an inherent attribute of any contract.

Banner Fund involved the promoter’s (fraudulent) promise to take individuals’ money, invest it in

various opportunities, and periodically deliver returns. 211 F.3d 602, 606 (D.C. Cir. 2000). The

Glen-Arden promoter nominally sold casks of whiskey, but coupled the sales with promises to

store the whiskey, procure insurance, assist with resale, and “handle all administrative details”—

all “commitments” that were “absolutely necessary to the turning of the promised profit.” 493

F.2d 1027, 1032, 1034–35 (2d Cir. 1974). The Scoville defendant sold a service that entitled

websites to “the opportunity to share in [the defendant’s] revenue,” thus promising periodic profit

distributions in exchange for the purchasers’ capital. 913 F.3d 1204, 1210 (10th Cir. 2019). SG

involved a scheme where purchasers bought “virtual companies” and were guaranteed to receive

later profit distributions from the defendant. 265 F.3d 42, 45, 52 (1st Cir. 2001). In Gary Plastic,

the defendant worked with multiple banks to “specially create[]” certificates of deposit to be sold

in the defendant’s “CD Program,” and then promised to “maintain a secondary market” for the

“CD Program” and “monitor the creditworthiness of issuing banks on a regular basis.” 756 F.2d

230, 232, 240 (2d Cir. 1985). The common thread is that if the promoters had failed to execute

post-sale, profit-generating activities, they would have breached a formal or implied contract. In

none of the cases did courts find bare assets to be “investment contracts.” This dooms most of the

SEC’s case, because the agency does not allege post-sale contractual obligations for secondary-

market sales of crypto tokens. Mot. 21, 26–27.




                                                 4
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       Continental illustrates the point nicely. There, promoters selling investments in beavers—

i.e., semi-aquatic mammals, not investment contracts—split the transaction “into separate

contracts for purchasing and ranching,” one of which ran to the beaver seller and the other to the

beaver rancher, who both “act[ed] in concert in the promotion” of the scheme. 387 F.2d 466, 469

(10th Cir. 1967). Continental thus reinforces the need for contractual, post-sale obligations.

               2.      An Investment Contract Requires An Investment Of Money Into A
                       Common Enterprise.

       The text of the securities laws and Howey likewise require the “investment of money in a

common enterprise” with the promoter—yet another longstanding requirement the SEC asks the

Court to ignore. Howey, 328 U.S. at 301 (emphasis added). The SEC disavows any requirement

that purchasers’ money go to a common enterprise, Opp. 31–32, yet the SEC never articulates how

a purchaser can “invest” money in an enterprise when no money goes to the enterprise. Nor is the

SEC’s view reconcilable with basic notions of investment, in which an investor provides capital

to an enterprise in the hopes of a return from the enterprise. See, e.g., McCown v. Heidler, 527

F.2d 204, 211 (10th Cir. 1975) (“The utilization of purchase money accumulated from lot sales to

build the promised improvements brings the scheme within the ‘common enterprise’ definition.”).

       The SEC also says that “resale[s] do[] not in any way alter the economic reality” of the

transactions it alleges took place on Binance.com because resale purchasers of crypto tokens

expect to make money (and might lose money) through their secondary-market transactions.

Opp. 33–34. That argument confuses Howey’s requirement of an “expectation of profits” with the

additional and separate requirements of (1) an “investment of money” (2) “in a common

enterprise.” All three must be satisfied in order to have an “investment contract.” E.g., Rodriguez,

990 F.2d at 11 (“[E]ven if every buyer bought for investment, what was purchased in this case was

not a share of a business enterprise and so not a security.”).



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       As with the contract requirement, the “investment of money in a common enterprise” test

is adaptable, but it cannot simply be disregarded. The SEC cites several cases for the unremarkable

proposition that the test does not turn on the nuances of accounting or “obsequious focus on how

proceeds are handled.” Opp. 32. But unlike this case, they all satisfied the basic requirement of

an “investment of money in a common enterprise.” See Life Partners, 87 F.3d at 543 (promoter

brought “together multiple investors and aggregate[d] their funds”); Gary Plastic, 756 F.2d at 241–

42 (funds went to Merrill Lynch via commissions and interest payments in connection with its

“CD Program,” which was “essentially a joint effort between the issuer of the CD, the deposit

bank, and Merrill Lynch”); In re BitConnect Sec. Litig., 2019 WL 9104318, at *1 (S.D. Fla. Aug.

23, 2019) (“Bitconnect operated a pyramid/Ponzi scheme” via two “BitConnect Investment

Programs”); id. at *7 (recognizing that Howey requires “an arrangement whereby an investor

commits assets to an enterprise or venture”) (quotation marks omitted).3

               3.      Precedent Mandates A Transaction-By-Transaction Analysis.

       The SEC also repeatedly conflates transactions during the BNB Offering and other tokens’

ICOs with secondary-market transactions. The SEC apparently believes that if some initial

offerings are investment contracts, all subsequent transactions involving these tokens are likewise

investment contracts.4 That is wrong.


3
  Notably, in its enforcement action against BitConnect, the SEC did not allege that the
cryptocurrency token created by BitConnect (BCC) was a security, SEC v. BitConnect, No. 21-cv-
07349 (S.D.N.Y. Sept. 1, 2021), ECF No. 1, at 2, whereas the Department of Justice in a related
action alleged that BCC was in fact a commodity, United States v. Kumbhani, No. 22-cr-395 (S.D.
Cal. Feb. 25, 2022), ECF No. 1, ¶ 69. The SEC’s arbitrary picking and choosing of assets to
characterize as securities (or not) in 2021–2022 only underscores the lack of authority for its
sweeping position in 2023 that virtually all such assets are securities.
4
  The SEC curiously makes much of the notion that Defendants do “not dispute” that BNB was
initially offered as an investment contract. Opp. 34, 36. That is false. Given the Rule 12 standard,




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       The analysis must be conducted transaction-by-transaction; accordingly, a transaction

involving an exchange of an asset (as distinguished from the asset itself) might constitute an

investment contract in some circumstances, but not others. Marine Bank v. Weaver, 455 U.S. 551,

560 n.11 (1982); Mot. 15. Even the SEC admits that under Howey, “[w]here those requirements”

of an investment contract “do not exist, even with respect to the same instruments, courts find no

investment contract.” Opp. 31. This admission refutes the agency’s insistence that a blind

secondary-market transaction must be treated the same as a token sale in an ICO years earlier.

       Nor does the fact that the Exchange Act sometimes applies to investment contracts mean

that it applies to sales of bare assets such as citrus groves or crypto tokens. The SEC implies that

Defendants’ interpretation is somehow in conflict with the inclusion of the phrase “investment

contract” in the Exchange Act’s definition section. Opp. 10. But the basic requirements of an

investment contract are entirely consistent with the Exchange Act. Courts have drawn a clear

distinction between the sale of investment contracts and the sale of assets that were involved in

those contracts. Revak v. SEC Realty Corp., 18 F.3d 81, 88–89 (2d Cir. 1994). When all that is

sold is an asset—stripped of the circumstances that made the original transaction an investment

contract under Howey—no “security” changes hands. Id. at 89. That the Exchange Act, among

other things, regulates secondary markets for things that are always securities (like stock) is beside

the point; here the threshold question is whether crypto tokens are securities in the first place.

       Here, the SEC fails to plead how secondary-market sales of tokens involved any post-sale

contractual obligations or any investment of money into a common enterprise.               The SEC




Defendants have not moved to dismiss the SEC’s claim concerning the Offering on the ground
that those transactions did not involve any investment contract; however, Defendants dispute that
the Offering was an “investment contract” and reserve all arguments in that regard for later stages
in the case. And there are multiple alternative reasons the Court should dismiss that claim now.


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accordingly provides no basis to distinguish secondary-market sales from any other asset sale

where the purchaser buys an asset from a third party hoping it will appreciate in light of subsequent

advertising or other activities that increase the demand for the asset. Indeed, until very recently,

SEC officials took the same position as Defendants, correctly explaining that a “token . . . all by

itself is not a security, just as the orange groves in Howey were not.” Mot. Appx. tbl. A line 2.

       The SEC’s final rejoinder is that Defendants’ understanding of the test produces absurd

results: that it would find an investment contract in one sale, yet no investment contract where the

same asset is resold by a third party. Opp. 33. That is not absurd; it reflects the transaction-by-

transaction analysis mandated by Supreme Court precedent, Marine Bank, 455 U.S. at 560 n.11,

which ensures that resellers of assets like citrus groves and beavers do not become the focus of the

securities laws. It also gives effect to Congress’s decision to delegate enforcement authority over

commodities to the CFTC, while carving out a narrower subset of assets—securities—for which

the SEC is the primary federal agency.

               4.      The SEC’s ICO Cases Reinforce Defendants’ Position.

       The SEC invokes a handful of out-of-circuit district-court opinions concerning crypto

assets. Yet all but one involved solely ICOs, which are not at issue in this motion. In each instance,

the promoters at least arguably made offers that buyers accepted by investing money into the

enterprise. For example, in Balestra promoters sought to “raise capital” to “launch a new

blockchain.” 380 F. Supp. 3d 340, 347 (S.D.N.Y. 2019). The Audet promoters similarly raised

money to launch their program. 605 F. Supp. 3d 372, 382–84 (D. Conn. 2022). These cases are

fundamentally different from the asset sales at issue here, which are akin to the resale of land that

may have previously been the subject of an investment contract.

       Only two of the cases even discuss the contract requirement. See SEC v. Terraform Labs

Pte. Ltd., 2023 WL 4858299, at *11 (S.D.N.Y. July 31, 2023); SEC v. Kik Interactive Inc., 492 F.


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Supp. 3d 169, 178 (S.D.N.Y. 2020). The facts of Kik easily fit into the implied-in-fact contract

framework—the promoters took investors’ money and expressly promised to use the money for

“the development of the Kin Ecosystem”; the developer could not have pocketed the money and

absconded without breaching a contract. 492 F. Supp. 3d at 174–76.5 Terraform (another out-of-

circuit case) found that issuer sales on “secondary market[s]” can constitute “investment

contracts,” 2023 WL 4858299, at *3, *15, but did not determine whether third-party resales satisfy

the “investment of money” or “common enterprise” prong. See also Mot. 18–19.

               5.     The SEC’s Position Lacks Any Coherent Limiting Principle.

       The SEC describes its test as follows: for crypto assets, an investment contract is anything

that gives investors “the opportunity to participate—via the potential appreciation of the value of

the crypto assets—in the promoters’ efforts to develop and grow the issuers’ blockchain-based

business.” Opp. 3. That test provides no “basis upon which to distinguish securities from non-

securities.” Life Partners, 87 F.3d at 545. A diamond dealer that undertakes an advertising

campaign provides everyone who owns a diamond the “opportunity to participate” “via the

potential appreciation” of the value of the stones. But nobody thinks diamonds are securities.

       The SEC calls that argument a “strawman,” “absurd,” and a “canard.” Opp. 3, 28. Yet the

SEC fails to explain why its theory does not lead to that absurd result. The SEC suggests its new

test applies only where an asset lacks “inherent” value, a reverse-engineered category that, under

the agency’s telling, includes only crypto tokens. Opp. 30. However, courts have long recognized

that other assets can be “worthless” without further development, but nevertheless are not


5
 Kik also incorrectly stated that Howey does not require an “ongoing” obligation after a sale, 492
F. Supp. 3d at 178, which cannot be squared with controlling case law in this Circuit. See Life
Partners, 87 F.3d at 545 (requiring “post-purchase commitments”).




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“investment contracts” without contractual obligations, an investment of money into a common

enterprise, and the other prerequisites. See Rodriguez, 990 F.2d at 8 (“worthless swamp land”).

The SEC’s approach would also extend the securities laws to Bitcoin, a conceded non-security.

Opp. 49.6

       The SEC also has no answer for the displacement of the CFTC’s enforcement authority in

crypto spot markets that would flow from the SEC’s newfound approach. Mot. 6–7; see also, e.g.,

Dodd-Frank Act, Pub. L. No. 111-203, § 753, 124 Stat. 1376, 1750–54 (2010) (expanding CFTC’s

anti-fraud authority over commodities in interstate commerce); 7 U.S.C. § 2(a)(1)(H) (explaining

that CFTC “ha[s] no jurisdiction under” the Dodd-Frank Act “with respect to[] any security other

than a security-based swap”).7 The SEC studiously avoids discussing the harm its approach does

to the longstanding statutory framework governing financial markets.

       B.      The SEC Has Not Plausibly Alleged Any Investment Contract.

       Here, the SEC has failed to plausibly allege facts establishing any investment contract,

which is sufficient to dismiss almost its entire Complaint.

               1.      BNB

       No Contract. The SEC fails to argue that secondary-market BNB transactions created any

prospective contractual obligations on Defendants’ behalf, thereby forfeiting any such argument,

and confirming the absence of a contract.



6
  The SEC’s need to feign ignorance of the meaning of an “asset sale,” Opp. 28, confirms it has
no answer to the problems caused by its distortion of Howey. The meaning is obvious: the sale of
something of value (be it citrus groves or crypto tokens) without post-sale obligations to develop
the asset or an investment into a common enterprise.
7
  See also Statement of CFTC Commissioner Pham (July 21, 2022), https://tinyurl.com/2p96hsv8
(noting that SEC enforcement action that “allege[d] that dozens of digital assets . . . are securities”
“could have broad implications” and that these “[m]ajor questions are best addressed through a
transparent process that engages the public to develop appropriate policy with expert input”).


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       No Investment Of Money Into A Common Enterprise. The SEC also fails to plausibly

allege how secondary-market BNB transactions involved any “common enterprise” between BHL

and purchasers. Mot. 21–24. The SEC says it alleged that BHL sold BNB directly to exchange

purchasers. Opp. 33 (citing Compl. ¶¶ 363, 388, 441). But that mischaracterizes the Complaint.

Paragraphs 388 and 441 concern third-party tokens, and have nothing to do with BHL or BNB.

Paragraph 363 makes the conclusory statement that “issuers” of crypto tokens sell them on

Binance.com, in a section about third-party tokens, not BNB. The SEC devoted an entire section

of the Complaint to BNB, yet notably did not allege that BHL sold the token on Binance.com.

Compl. ¶¶ 287–314.      The SEC “may not amend [its] complaint[] through [its] brief[] in

opposition.” Woytowicz v. George Washington Univ., 327 F. Supp. 3d 105, 119 n.4 (D.D.C. 2018).

       Moreover, the SEC has not plausibly alleged a “common enterprise” under any test, even

if vertical commonality were viable (it is not). Strict vertical commonality considers whether the

investor’s and promoter’s “fortunes” were intertwined, meaning whether both the investor and the

promoter drew profits from the enterprise and shared them, and whether both likewise “shared the

risk of loss.” E.g., SEC v. Eurobond Exch., Ltd., 13 F.3d 1334, 1339–40 (9th Cir. 1994). Even

for the few courts that allow “broad” vertical commonality, to our knowledge none has found an

investment contract without investors committing money to an ongoing enterprise.

       The SEC does not explain how that standard could be satisfied here, other than its attempt

to transform the common enterprise test into a “common interest” test, Opp. 16 (emphasis added),

claiming that BHL and purchasers held the same assets and hoped they would appreciate. But that

is insufficient for a “common enterprise.” Noa v. Key Futures, Inc., 638 F.2d 77, 79 (9th Cir.

1980) (per curiam). Nor was there a shared risk of loss. The value of BNB can continue to

fluctuate regardless of the financial fortunes of BHL—much like Bitcoin, which maintains value




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even though its creator’s identity is a mystery. As the SEC alleges, BNB was created on the

Ethereum blockchain—which neither depends on BHL nor is under its control. Compl. ¶¶ 287,

293. Indeed, the SEC admits that BNB trades on other platforms. Id. ¶ 305.

       No Reasonable Expectation Of Profits From The Efforts Of Others. The SEC likewise

fails to plausibly allege that BNB holders reasonably expected profits from BHL’s alleged efforts.

The SEC must show that “profits flow predominantly from the efforts of others,” Life Partners,

87 F.3d at 548 (emphasis added), rather than market fluctuations, see Noa, 638 F.2d at 79, or

marketing puffery. See ICAN Br. 13–14. In response, the SEC again resorts to vague musings

concerning BHL’s alleged ownership of BNB, Opp. 17–18, which supposedly sent a “signa[l]”

that BHL would work to increase BNB’s value. But that could be said of any company (such as

an oil producer) that holds an asset and profits when the asset appreciates in value. Mot. 24.

       As for the SEC’s alternative theory concerning BNB burns, the SEC fails to plausibly

allege sufficient post-purchase efforts. Life Partners, 87 F.3d at 548. At most, the SEC generically

pleads that BHL used “Binance’s profits with respect to the Binance.com Platform” to occasionally

execute burns. Compl. ¶ 295. The SEC’s core theory is that burns were “coded into the protocol”

when the entire supply of BNB was created, and the SEC alleges that BHL was otherwise involved

only “at times.” Opp. 15. Assuming those allegations as true, efforts coded into an asset

necessarily occur prior to secondary-market transactions, and thus do not indicate that profits flow

“predominantly” from post-sale efforts. Life Partners, 87 F.3d at 538; see ICAN Br. 7–8.

       Employee Payments In BNB Do Not Constitute “Investment Contracts.” The SEC’s

allegation that BNB payments to BHL employees separately constitute “investment contracts” fails




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for the same reasons.8 The SEC fails to plead the existence of any contract between BHL and its

employees obligating BHL to undertake post-sale efforts on their behalf to increase BNB’s value.

And the SEC’s theory fails the “investment of money” element, too. The case the SEC cites for

the proposition that employees’ labor constitutes an “investment of money into a common

enterprise” states the opposite. Opp. 38; see Uselton v. Com. Lovelace Motor Freight, Inc., 940

F.2d 564, 577 (10th Cir. 1991) (defendant’s argument against investment contract “ignores that

Lee Way’s union employees did more than merely contribute labor”) (emphasis added).

               2.     BUSD

       As for BUSD, the SEC presents no coherent argument about how a stablecoin pegged to

$1 and mechanically converted into dollars on a 1:1 basis can be an “investment contract.” The

agency contends that Defendants “offer[] no support for [their] position” that converting 1 BUSD

into $1 is “ministerial,” Opp. 40, but it is the SEC that has the burden to show (and plausibly

allege) how mechanically exchanging 1 BUSD for $1 entails “entrepreneurial” effort. See Life

Partners, 87 F.3d at 545. The SEC makes no effort to do so.

       Unable to explain how a stablecoin designed not to result in profits satisfies Howey, the

SEC argues that BUSD can be “deploy[ed] . . . so as to generate profits” via other schemes, such

as the “BUSD Reward Program” or the “Binance Flexible Savings” program. Opp. 39–40

(emphasis added). Whether other programs combined with the sale of stablecoins constitute

“investment contracts” is not at issue here because the SEC pleaded only that BUSD itself is the

“investment contract” and has doubled down on that false premise in its brief.




8
 The SEC says that Defendants’ “only challenge” to the Complaint’s throwaway allegations about
employee payments is the “investment of money” element, Opp. 38, ignoring that this theory also
fails “for the same reasons” as the SEC’s other theories concerning BNB, Mot. 20 n.5.


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       The SEC itself likens BUSD to “the citrus groves in Howey.” Opp. 39. But the citrus

groves themselves were not investment contracts. Instead, the investment contracts comprised a

scheme to invest money in a common enterprise to develop the orange groves and earn profits.

328 U.S. at 299–300. Ironically, the SEC’s own allegations in Count 3 illustrate the difference

between a claim challenging an asset like a citrus grove (or crypto token) and a claim challenging

a broader scheme that allegedly packages various assets and promises into a single investment

contract. Though deficient for other reasons, Count 3 did challenge Binance.com programs on the

theory that they offer customers an opportunity to use tokens to earn money by pooling funds into

profit-making enterprises. The SEC’s failure to do that in Count 2 confirms that the agency

deliberately chose to pursue a different theory for BUSD. The SEC is stuck with that theory for

purposes of this motion to dismiss. See, e.g., Brooks v. Weinberger, 637 F. Supp. 22, 25 (D.D.C.

1986) (plaintiffs “are bound by” the complaint’s allegations). Indeed, even after an amicus

offering a competing stablecoin incorrectly argued that Count 2 challenged the Binance.com

programs (not BUSD itself), Circle Br. 3–4, the SEC did not (and could not) pursue a challenge

to the Binance.com programs themselves, whether combined with sales of BUSD or otherwise.

And the SEC’s own theory—that BUSD, the “crypto asset,” Opp. 41, is a security (as distinct from

the “profitmaking opportunities that depend upon its purchase,” id. at 40)—fails under Howey.9

               3.     The Third-Party Tokens

       The SEC’s treatment of the third-party tokens underscores just how unmoored its approach

is from text and precedent. The SEC fails to argue that any third-party token was a contract with

ongoing obligations that the promoters owed to the purchasers of the tokens. The most the SEC



9
 Amicus’s attempt to re-plead the SEC’s Complaint, Circle Br. 3–4, is in any event not before the
court. See, e.g., Michel v. Anderson, 14 F.3d 623, 625 (D.C. Cir. 1994).


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alleges is that purchasers might have had the impression that third-party issuers “were financially

compelled to undertake” post-sale “efforts” because the issuers also owned the tokens and had

economic interests that were aligned with other holders. Opp. 19. Whatever that means, the

Supreme Court confirmed 80 years ago that an investment contract must entail obligations “in both

an economic and a legal sense.” Joiner, 320 U.S. at 348–49 (emphases added).

       The SEC’s arguments concerning the “investment of money” into “common enterprise”

elements are similarly underdeveloped and conclusory. The agency’s only substantive argument

is that creators and purchasers held “identical tokens whose prices rise and fall together.” Opp. 18.

That cannot establish that purchasers paid for an “interest acquired . . . in an ongoing business

enterprise.” Rodriguez, 990 F.2d at 11; supra at 11 (discussing why this theory fails as to BNB).10

               4.      BNB Vault And Simple Earn

       The SEC contends that BNB Vault and Simple Earn constitute “investment contracts”

because they involve an “investment of money” and a risk of loss of that money. The Court need

not reach these arguments because the SEC’s claims concerning Vault and Earn are impermissibly

extraterritorial. Mot. 39–41; infra at 19–23. In any event, the SEC’s arguments fail.

       Although the SEC now asserts that investors could incur losses from so-called “slashing

penalties,” Opp. 43, the Complaint lacks any corresponding allegation. The Complaint’s slashing

allegations all concern BAM’s staking program. Compl. ¶¶ 341, 343, 349. Moreover, the risk of

loss must be realistic rather than merely theoretical. See Marine Bank, 455 U.S. at 558–59; Gary

Plastic, 756 F.2d at 239. The SEC never alleges that any slashing event has occurred with respect



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   The SEC also does not rebut the argument that purchasers in blind transactions lack any
reasonable expectation that someone will use their money to earn them profits. See Mot. 27–28.




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to Vault or Earn, nor facts suggesting that one is realistic.11 The SEC’s contention that staking is

“a complex, resource-intensive endeavor” relies on a link to Ethereum.org, which is not in the

Complaint or incorporated by reference. Opp. 41 n.2. The SEC fails to explain how the conclusory

facts actually alleged in the Complaint plausibly show that staking is more than the mechanical

validation of on-chain transactions. Cf. Life Partners, 87 F.3d at 546. For Simple Earn, the SEC’s

even more conclusory allegations concerning unspecified efforts other than staking, Compl. ¶ 329,

similarly lack any specific facts to support the SEC’s claim.

       C.      The Major-Questions Doctrine Forecloses The SEC’s Claims.

       The SEC contends that the major-questions doctrine governs only cases involving an

agency’s rulemaking authority. Opp. 45–46. That argument fails for several reasons. For starters,

an agency “literally has no power to act . . . unless and until Congress authorizes it to do so by

statute.” FEC v. Cruz, 596 U.S. 289, 301 (2022). Thus, the SEC cannot pursue rulemaking or

enforcement without statutory authority. And nothing about the securities laws provides that the

definition of “security” somehow changes based on how the agency administers them. 15 U.S.C.

§§ 77b(a)(1), 78c(a)(10). The Supreme Court has “forcefully rejected” the notion that “the same

word, in the same statutory provision,” can have “different meanings in different factual contexts.”

United States v. Santos, 553 U.S. 507, 522 (2008). That is why courts have applied the major-

questions doctrine in individualized adjudications having nothing to do with rulemaking, and even

in suits between private parties. See, e.g., Texas v. NRC, 78 F.4th 827, 844 (5th Cir. 2023); N.C.

Coastal Fisheries Reform Grp. v. Captain Gaston LLC, 76 F.4th 291, 299 (4th Cir. 2023).



11
  As for an investment of money, the cases the SEC cites to demonstrate the commitment of capital
to an enterprise are inapposite. See Opp. 42–43. In those cases, investors relinquished money to
a common investment pool but were granted a right to force the company to buy back their
investment; in none did investors, as here, get back the same asset they had loaned.


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        Moreover, the major-questions doctrine is not just a restriction on rulemaking authority or

Congress’s attempts to punt quintessentially legislative decisions to the Executive Branch. First

and foremost, it is a canon of statutory interpretation—a clear-statement rule, cautioning courts

against allowing dramatic expansions of agency power without express permission from Congress.

E.g., West Virginia v. EPA, 142 S. Ct. 2587, 2609 (2022). Yet here the SEC seeks to wrest “a

matter of ‘earnest and profound debate’” from Congress’s hands. Biden v. Nebraska, 143 S. Ct.

2355, 2374 (2023).12

        The SEC next argues that Congress “could reasonably be seen to have granted to the SEC”

the claimed authority, since the SEC invokes its flagship statute, rather than an “ancillary” or little-

used provision. Opp. 48. But the doctrine applies equally where, as here, an agency applies a

flagship statute in a new way. NFIB, 595 U.S. at 117–18. Indeed, the “lack of historical precedent”

for the SEC’s current approach “is a ‘telling indication’” that the agency is beyond the envelope

of its statutory authority. Id. at 119.

        The SEC’s portrayal of the stakes here as a single “civil enforcement action” similarly fails.

Opp. 47. Agencies can make policy either through rulemaking or enforcement. SEC v. Chenery

Corp., 332 U.S. 194, 202 (1947). Accordingly, the relevant question here is not just the economic

ramifications of this action (though they are very large), but also the knock-on effects of the SEC’s

novel position. Merck & Co. v. HHS, 962 F.3d 531, 541 (D.C. Cir. 2020). The SEC’s plain goal

is to secure a decision that crypto tokens—with the possible and unexplained exception of

Bitcoin—are “investment contracts,” a result with massive implications, which increase

exponentially due to the SEC’s inability to distinguish real estate or commodities. The potential


12
   The SEC asserts that pending legislative proposals have no relevance, Opp. 46, a position that
defies Supreme Court precedent. See, e.g., Nebraska, 143 S. Ct. at 2373 & n.8 (noting “discussion”
in “the halls of Congress”); NFIB v. OSHA, 595 U.S. 109, 119 (2022) (per curiam) (similar).


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fallout is why multiple amici have appeared here and in similar litigation on both sides of the issue.

See Dkts. 50, 53, 55, 60, 62, SEC v. Coinbase, Inc., No. 1:23-cv-04738 (S.D.N.Y. Aug. 2023).

        Thus, the major-questions doctrine applies here and requires clear authorization in the

statutory text. The SEC’s only response is that its new policy is “embodied in the securities laws.”

Opp. 45. That is obviously circular—an agency cannot avoid a major-questions problem simply

by positing that the statute already says what the agency wishes it to say. And the SEC fails even

to attempt a textual argument. Instead, the agency decries the very idea that it might need textual

authorization. Opp. 26–27 (mocking “the words”). The SEC’s argument that the statutes implicitly

contain express authorization makes no sense either. The whole point of the major-questions

doctrine is to require agencies to show that Congress enacted clear statutory authorization in the

text itself. West Virginia, 142 S. Ct. at 2609. Nor does the SEC dispute that, without its novel

theory of what constitutes an “investment contract,” the vast majority of its claims fail.

II.     The SEC’s BNB Offering Claim Is Time-Barred. (Remainder Of Count 1)

        As for the claim regarding the BNB Offering, the SEC argues that the limitations periods

still have not started because BHL “is located outside of the United States.” Opp. 37. But the SEC

itself says that BHL has engaged in sufficient activities “within the United States” to be sued here

and for U.S. securities laws to apply. Compl. ¶ 24; Opp. 61. Coupled with its overbroad definition

of “domestic conduct,” infra at 23, the SEC’s interpretation of the limitations periods would allow

it to pursue penalties against foreign companies engaged in foreign transactions without any

temporal limitation. Such infinite liability has long been disfavored. Wilson v. Garcia, 471 U.S.

261, 271 (1985). The SEC cannot have it both ways. Either the Offering occurred outside the

United States, such that the SEC’s claim is extraterritorial, or it is untimely.

        Nor does the SEC’s request for injunctive relief save its claims. Opp. 37. The SEC lacks

authority to seek an injunction unless it alleges that a defendant “is engaged or is about to engage


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in acts or practices constituting a violation” of the securities laws. 15 U.S.C. § 78u(d)(1). There

is no allegation that the Offering is ongoing or will imminently recur. See SEC v. Globus Grp.,

Inc., 117 F. Supp. 2d 1345, 1347 (S.D. Fla. 2000) (denying injunction absent evidence indicating

likelihood of future violations).

III.     The Claims Regarding Binance.com Transactions (Including BNB Vault And Simple
         Earn) And The BNB Offering Are Impermissibly Extraterritorial. (Foreign
         Components Of Counts 1–2 & All Of Counts 3, 5–7, & 11)

         A.     The SEC’s Arguments Impermissibly Extend The Securities Laws Overseas.

         The SEC makes no attempt to argue that the securities laws apply beyond U.S. borders,

instead arguing that the Complaint alleges “domestic violations” of those statutes. Opp. 61. As

the SEC sees it, if U.S. investors knowingly engage in online transactions with a global website,

that is a “domestic” violation of the securities laws “regardless of where . . . a ‘transaction’

ultimately occurs.” Id. But the Supreme Court has repeatedly rejected such expansive conceptions

of “domestic” conduct because they would render the presumption against extraterritoriality a

“muzzled Chihuahua.” Abitron Austria GmbH v. Hetronic Int’l, Inc., 600 U.S. 412, 426 (2023).

The presumption does not retreat simply because “particular ‘effects are likely to occur in the

United States.’” Id. The SEC’s theory has been consistently rejected by courts and would

impermissibly extend U.S. law wherever U.S. consumers go (on the internet or otherwise). See,

e.g., Absolute Activist Value Master Fund Ltd. v. Ficeto, 677 F.3d 60, 69 (2d Cir. 2012); ICAN

Br. 3–4. Consider the SEC’s theory as applied to the London Stock Exchange. Americans might

direct their brokers or investment advisers to transact on the London Stock Exchange, whose

website is freely accessible to U.S. persons, but that does not make the exchange subject to the

U.S. securities laws.

         In response, the SEC attacks a strawman. Defendants have not argued that the SEC can

regulate only companies that are incorporated or have their principal place of business in the


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United States. Opp. 69. The point is that the SEC “must establish that the conduct relevant to the

statute’s focus occurred in the United States.” Abitron, 600 U.S. at 418 (emphasis, quotation

marks, and citation omitted). And “the focus” of the securities laws is “purchases and sales of

securities in the United States,” i.e., “domestic transactions.” Morrison v. Nat’l Australia Bank

Ltd., 561 U.S. 247, 266–68 (2010) (emphasis added). The test for whether a transaction is domestic

turns on the location where “irrevocable liability was incurred” or “title was transferred.” Absolute

Activist, 677 F.3d at 67–68. The SEC has not met this test. See Mot. 39–41.

       B.      The SEC’s Preferred Test Was Rejected In Morrison.

       The SEC’s proposed test, by contrast, ignores Morrison and Abitron and instead asks

vaguely whether defendants engage in “pervasive U.S.-focused conduct,” Opp. 60, activity

“directed to the United States,” id. at 62, activity that “create[s] or facilitate[s] a market for

securities in the United States,” id. at 61, or securities-related functions “with U.S. investors,” id.

at 63 (emphasis omitted). In other words, the SEC asks the Court to apply something like the

“‘conduct’ and ‘effects’ tes[t]” that was specifically rejected in Morrison. 561 U.S. at 257–59.

Indeed, the SEC relies heavily on a case that Morrison abrogated. Opp. 61–62; Europe & Overseas

Commodity Traders, S.A. v. Banque Paribas London, 147 F.3d 118, 125 (2d Cir. 1998), abrogated

by Morrison, 561 U.S. at 258.

       The SEC also is wrong to claim that “the registration provisions” at issue here are not

transaction-focused. Opp. 61. Morrison held that “the focus” of both Acts as a whole is on

“domestic transactions.” 561 U.S. at 266–68. The Court cited (among other provisions) the

Exchange Act’s “registration requirements” and Section 5 of the Securities Act, and observed that

the Acts form a “comprehensive regulation of securities trading.” Id. at 266–69 (emphasis added).

Accordingly, courts have correctly applied Morrison’s “transactional test,” id. at 269–70, to

provisions in the securities laws other than Section 10(b) of the Exchange Act. See Schentag v.


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Nebgen, 2018 WL 3104092, at *5, *10–13 (S.D.N.Y. June 21, 2018) (Section 5 of the Securities

Act); SEC v. Benger, 934 F. Supp. 2d 1008, 1013 (N.D. Ill. 2013) (15 U.S.C. § 78o).13

       The SEC mainly relies on its own statements. Opp. 60–64. But agency pronouncements

are irrelevant in this context because courts do not defer to agency positions that would give a

statute extraterritorial reach unless Congress gave an “affirmative indication that the statute applies

extraterritorially.” Garvey v. ARB, 56 F.4th 110, 121–23 (D.C. Cir. 2022). Nor do they help the

SEC on their own terms. The SEC relies on Regulation S to argue that Section 5 applies to any

offers and sales “directed to the United States—i.e., to U.S. investors.” Opp. 62. But Morrison

itself cited Regulation S in concluding that the “focus on domestic transactions is evident in the

Securities Act.” 561 U.S. at 268–69 (citing 17 C.F.R. § 230.901). Moreover, Regulation S merely

establishes “safe harbors.” Commodity Traders, 147 F.3d at 124. It does not purport to delineate

the exclusive conditions under which an offer or sale is foreign. See id. at 125.14

       The SEC also relies on Spanski Enterprises, Inc. v. Telewizja Polska, S.A., 883 F.3d 904

(D.C. Cir. 2018), but that copyright case is not probative of the focus or scope of securities laws

under Morrison. Many of the SEC’s other cases are likewise not about the laws at issue here. See



13
   The SEC states that an “offer of securities . . . does not require a completed transaction,” Opp. 62
(emphasis altered), but the securities laws confirm that an offer is a type of transaction, see, e.g.,
15 U.S.C. § 77d(a)(6) (referring to “transactions involving the offer or sale of securities by an
issuer”). For these transactions, the relevant question is whether the offer was made “in” or “from”
the United States. SEC v. Goldman Sachs & Co., 790 F. Supp. 2d 147, 165 (S.D.N.Y. 2011) (offer
was domestic because it was allegedly made “in and from New York City”) (citing Morrison, 561
U.S. at 269–70). The SEC does not plausibly allege that any offers at issue here—including the
BNB Offering—were made in or from the United States. Mot. 39–41; infra at 22.
14
  The SEC also cites a pair of agency statements in arguing that foreign broker-dealers that have
“contacts” with “‘the U.S. securities markets or a U.S. investor in the United States’” must register
under the Exchange Act. Opp. 63. But one of these statements specifically refers to “transaction-
oriented contact[s],” 54 Fed. Reg. 30,013, 30,015 n.20 (July 18, 1989) (emphasis added), and the
other likewise refers to “securities transactions,” 63 Fed. Reg. 14,806, 14,812 (Mar. 27, 1998)
(emphasis added).


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Lay v. United States, 623 F. App’x 790, 795 (6th Cir. 2015) (Section 206 of the Investment

Advisers Act); SEC v. Gruss, 859 F. Supp. 2d 653, 661 (S.D.N.Y. 2012) (same); Barron v. Helbiz,

Inc., 2021 WL 4519887, at *3 (2d Cir. Oct. 4, 2021) (New York state-law claims). And the SEC’s

lone case that discussed a securities law (15 U.S.C. § 78o) predates Morrison, did focus on a

defendant’s “transactions,” and involved an exemption under a provision not at issue here. UBS

Asset Mgmt. (N.Y.) Inc. v. Wood Gundy Corp., 914 F. Supp. 66, 70 (S.D.N.Y. 1996).

       C.      The SEC Has Not Plausibly Alleged Domestic Violations.

       Because Morrison’s transactional test applies to all of the statutory provisions at issue here,

the proper inquiry is whether “irrevocable liability was incurred or title was transferred within the

United States.” Absolute Activist, 677 F.3d at 68.15

       Allegations regarding solicitation of U.S. users, the presence of U.S. bank accounts, and

instrumentalities of interstate commerce are insufficient to plead that irrevocable liability was

incurred or title was transferred in the United States. Mot. 40–41.16 As for BHL’s alleged use of

“U.S. high-volume traders to maintain liquidity on the platform,” Opp. 60, a trader’s residency

“does not affect whether the transaction was foreign or domestic,” City of Pontiac Policemen’s &

Firemen’s Ret. Sys. v. UBS AG, 752 F.3d 173, 181 (2d Cir. 2014), and the increased “liquidity” is

alleged only to have “encouraged other investors to trade on the platform,” Compl. ¶ 109.




15
   Contrary to the SEC’s argument that “the motion to dismiss stage is not the place to resolve”
extraterritoriality, Opp. 66, the Supreme Court often resolves claims on extraterritoriality grounds
at this stage, see Morrison, 561 U.S. at 265; RJR Nabisco, Inc. v. European Cmty., 579 U.S. 325,
337 (2016).
16
  Contrary to the SEC’s arguments in a “Notice of Supplemental Authority,” ECF No. 188,
Defendants’ admissions in recent plea agreements do not alter this analysis (nor the analysis of fair
notice, see infra at 23, or personal jurisdiction, see infra at 24, for the reasons set forth in
Defendants’ Response to the SEC’s Notice of Supplemental Authority, ECF No. 189.


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        The SEC erroneously contends that the “irrevocable liability standard” is “satisfied here”

based on cases involving transactions that did occur in the United States. Opp. 66. For example,

in Giunta a buyer committed to transactions during conversations with the seller in the United

States. 893 F.3d 73, 76 (2d Cir. 2018); see also United States v. Vilar, 729 F.3d 62, 77–78 (2d

Cir. 2013) (one set of investors “committed to the investment while in Puerto Rico” and the other

investor “irrevocably committed . . . in New York”). Other cases are similarly inapposite. See

SEC v. Glob. Inv. Strategy UK Ltd., 2021 WL 4896127, at *7 (S.D.N.Y. Oct. 19, 2021) (dealing

with “U.S. purchasers acquiring U.S. securities in the United States” via U.S.-registered broker-

dealers); Myun-Uk Choi v. Tower Rsch. Cap. LLC, 890 F.3d 60, 63 (2d Cir. 2018) (defendant did

not dispute that derivatives trades were matched in the United States).

        More broadly, the SEC’s allegations regarding Binance.com (including BNB Vault and

Simple Earn) and the BNB Offering fail to satisfy any sensible definition of “domestic conduct.”

The SEC argues it can regulate any “crypto asset trading platform” that is made “available all over

the world via the internet.” Opp. 59–60. The Supreme Court has consistently and forcefully

rejected such conceptions of the reach of domestic law, because “‘United States law . . . does not

rule the world.’” Abitron, 600 U.S. at 428 (citation omitted).17

IV.     The SEC’s Failure To Provide Fair Notice Compels Dismissal. (All Counts)

        The SEC argues that its failure to provide notice is irrelevant to the case, arguing that

defendants are not entitled to fair notice of an “‘agency’s interpretation of the statute.’” Opp. 51.



17
   The SEC does not dispute its failure to allege transactions that were predominantly domestic,
which independently bars its claims. Opp. 68; Mot. 38, 41. Instead, the SEC halfheartedly
contends that the “predominantly foreign” test “has no bearing” in “an SEC enforcement action,”
without explaining why the applicability of U.S. law to a foreign defendant would turn on the name
of the plaintiff. And at least one court has applied the test in an SEC enforcement action. See SEC
v. Ripple Labs, Inc., 2022 WL 762966, at *14 (S.D.N.Y. Mar. 11, 2022).


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But in the D.C. Circuit, it is “Rule of Law 101” that an agency “violate[s] due process” where it

attempts to “retroactively appl[y]” its “new . . . interpretation of [a] statute” in an enforcement

proceeding. PHH Corp. v. CFPB, 839 F.3d 1, 46–48 (D.C. Cir. 2016), reinstated in relevant part,

881 F.3d 75, 83 (D.C. Cir. 2018) (en banc).

       Next, the SEC contends that its inaction is irrelevant to fair notice, Opp. 51, but that

argument is similarly foreclosed. See Christopher v. SmithKline Beecham Corp., 567 U.S. 142,

157–58 (2012); Mot. 43. The SEC’s first guidance—a 2017 report—post-dated the BNB Offering,

Compl. ¶¶ 78, 81, and an SEC official declared in a 2018 speech that a “token . . . all by itself is

not a security,” Mot. Appx. tbl. A line 2, which flatly contradicts the agency’s new theory.18

       The SEC also argues that Defendants had notice due to alleged statements by a BHL officer

and outside consultant in late 2018. Opp. 52. These allegations are irrelevant because the fair-

notice inquiry is “objective.” Woodhull Freedom Found. v. United States, 72 F.4th 1286, 1303

(D.C. Cir. 2023). Moreover, they occurred well after the 2017 BNB Offering. Compl. ¶¶ 110–40.

V.     The Complaint Fails To Adequately Allege Personal Jurisdiction As To Mr. Zhao.
       (Counts 11 and 12)

       All claims against Mr. Zhao should also be dismissed for lack of personal jurisdiction.

First, the SEC concedes that control person status cannot alone support personal jurisdiction.

Opp. 71. Rather, citing only to EMI Christian Music Grp., Inc. v. MP3tunes, LLC, 844 F.3d 79,

98 (2d Cir. 2016), the SEC seeks to impute the contacts of Binance and BAM to Mr. Zhao. But in

this Circuit, a corporation’s contacts may not be imputed to an affiliated entity unless the parties



18
  Nor can the SEC manufacture fair notice from one-off enforcement actions targeting different
crypto transactions. Opp. 50. These enforcement actions are themselves “inconsistent,” SEC v.
Ripple Labs, Inc., 2023 WL 4507900, at *15 n.20 (S.D.N.Y. July 13, 2023), and the SEC only
recently (and well after the BNB Offering) brought enforcement actions premised on its new view
that virtually all crypto assets are investment contracts, Mot. 9; see also id. at 34 n.12.


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are “alter egos,” Mazza v. Verizon Washington DC, Inc., 852 F. Supp. 2d 28, 41 (D.D.C. 2012),

which the SEC has not alleged here.

       Second, the SEC points to Mr. Zhao’s purported involvement in “operating two

unregistered exchanges, broker-dealers, and clearing agencies targeting U.S. investors.” Opp. 72.

This merely repackages control person allegations that the SEC concedes are insufficient to

support specific personal jurisdiction. See Mot. 44. The SEC also offered no response on its

failure to distinguish between Mr. Zhao and Binance, when each defendant’s contacts with the

forum must be assessed individually. See id. at 43 (citing cases).

       Finally, the SEC failed to allege any direct, suit-related contact between Mr. Zhao and

purported U.S. users. See Mazza, 852 F. Supp. 2d at 40 (corporate parent setting subsidiary’s

“revenue targets” and “strategies” was insufficient to support personal jurisdiction). The SEC’s

attempt to analogize to SEC v. Terraform Labs Pte Ltd., 2022 WL 2066414, at *3 (2d Cir. June 8,

2022), likewise fails. There, the court found that the defendants availed themselves of the forum

by personally taking business trips to the United States and retaining U.S.-based employees whose

sole duty was to solicit investment in the United States—none of which is alleged here. Id. And

even if the Complaint had adequately alleged “purposeful[] avail[ment]” of the United States, it

nonetheless fails to allege sufficient “suit-related” contacts of Mr. Zhao personally that created a

“substantial connection” with the forum. Walden v. Fiore, 571 U.S. 277, 283–84 & n.6 (2014).

                                           Conclusion

       The SEC’s claims against BHL and Mr. Zhao should be dismissed with prejudice.




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Dated: December 12, 2023                  Respectfully submitted,



                                           /s/ Daniel W. Nelson
                                          Daniel W. Nelson (D.C. Bar #433415)
                                          Jason J. Mendro (D.C. Bar #482040)
                                          Stephanie Brooker (pro hac vice)
                                          M. Kendall Day (pro hac vice)
                                          Richard W. Grime (pro hac vice)
                                          Amy Feagles (pro hac vice)
                                          Matt Gregory (D.C. Bar #1033813)
                                          GIBSON, DUNN & CRUTCHER LLP
                                          1050 Connecticut Avenue, N.W.
                                          Washington, DC 20036-5306
                                          Tel: (202) 955-8500
                                          Fax: (202) 467-0539
                                          dnelson@gibsondunn.com
                                          jmendro@gibsondunn.com
                                          sbrooker@gibsondunn.com
                                          kday@gibsondunn.com
                                          rgrime@gibsondunn.com
                                          afeagles@gibsondunn.com
                                          mgregory@gibsondunn.com

                                          Attorneys for Defendant Binance Holdings
                                          Limited




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                                       /s/ Abid R. Qureshi
                                      Abid R. Qureshi (D.C. Bar No. 459227)
                                      William R. Baker, III (D.C. Bar No. 383944)
                                      Eric S. Volkman (D.C. Bar No. 490999)
                                      Michael E. Bern (D.C. Bar No. 994791)
                                      LATHAM & WATKINS LLP
                                      555 Eleventh Street, NW, Suite 1000
                                      Washington, DC 20004
                                      Tel: (202) 637-2200
                                      Fax: (202) 637-2201
                                      abid.qureshi@lw.com
                                      william.baker@lw.com
                                      eric.volkman@lw.com
                                      michael.bern@lw.com

                                      Douglas K. Yatter (pro hac vice)
                                      Benjamin Naftalis (pro hac vice)
                                      LATHAM & WATKINS LLP
                                      1271 Avenue of the Americas
                                      New York, NY 10020
                                      Tel: (212) 906-1200
                                      Fax: (212) 751-4864
                                      douglas.yatter@lw.com
                                      benjamin.naftalis@lw.com

                                      Heather A. Waller (pro hac vice)
                                      LATHAM & WATKINS LLP
                                      330 North Wabash Avenue, Suite 2800
                                      Chicago, IL 60611
                                      Tel: (312) 876-7700
                                      Fax: (312) 993-9767
                                      heather.waller@lw.com

                                      Melanie M. Blunschi (pro hac vice)
                                      LATHAM & WATKINS LLP
                                      505 Montgomery Street, Suite 2000
                                      San Francisco, CA 94111-6538
                                      Tel: (415) 391-0600
                                      Fax: (415) 395-8095
                                      melanie.blunschi@lw.com

                                      Attorneys for Defendant Changpeng Zhao




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                     Exhibit A
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                    Grounds for Dismissal of SEC Claims Based on BHL and Mr. Zhao’s Motion to Dismiss
                                                      Failure to Plead                                                               Failure to Plead
                                                                          Statute of
                      Claim                            “Investment                     Extraterritoriality   Lack of Fair Notice   Personal Jurisdiction
                                                                         Limitations
                                                         Contract”                                                                    as to Mr. Zhao
Count 1: Against BHL for unregistered offers and
                                                                                                                  
sales of BNB (15 U.S.C. §§ 77e(a) and (c))
                                                                                   (Initial Offering
                                                                                                             (Initial Offering &           N/A
                                                        (secondary        (Initial        & secondary
                                                                                                                  secondary
                                                       transactions)     Offering)      transactions on
                                                                                         Binance.com)          transactions)
Count 2: Against BHL for unregistered offers and
sales of BUSD (15 U.S.C. §§ 77e(a) and (c))
                                                                                              
                                                                                       (transactions on                                 N/A
                                                                                         Binance.com)
Count 3: Against BHL for unregistered offers and
sales of Simple Earn and BNB Vault (15                                                                                                N/A
U.S.C. §§ 77e(a) and (c))
Count 5: Against BHL for Binance.com not being
registered as an exchange (15 U.S.C. § 78e)
                                                                                                                                       N/A

Count 6: Against BHL for Binance.com not being
registered as a broker-dealer (15 U.S.C. § 78o(a))
                                                                                                                                      N/A

Count 7: Against BHL for Binance.com not being
registered as a clearing agency (15 U.S.C. § 78q-                                                                                      N/A
1(b))
Count 8: Against BHL for Binance.US not being
registered as an exchange (15 U.S.C. § 78e)
                                                                                                                                      N/A

Count 10: Against BHL for Binance.US not being
registered as a clearing agency (15 U.S.C. § 78q-                                                                                     N/A
1(b))
Count 11: Control person liability against Mr. Zhao
for Binance.com not being registered as an
exchange, broker-dealer, and clearing agency (15
                                                                                                                                    
U.S.C. § 78t(a))
Count 12: Control person liability against Mr. Zhao
for Binance.US not being registered as an exchange,                                                                                  
broker, and clearing agency (15 U.S.C. § 78t(a))
